           Case 3:15-cr-03181-BTM                         Document 84                Filed 06/21/16              PageID.473              Page 1 of 6


     ~AO 245B (CASD) (Rev" 4/14)    Judgment in a Criminal Case
                Sheet 1

                                                                                                                                  JUN 2 1 2016
                                               UNITED STATES DISTRICT COUR
                                                                                                                             ~~'~--,--;-- C'~YT
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                                 TI" 0.- C;\UfORNIA
                                                                                                                                   , i v (}. t.CI?~;Yl;TY
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CH:H"ff~t::;t;1\'S'E-'                                 .­
                                         v.                                        (For Offenses Committed On or After November I, J987)

                       WILLIAM HARVEY YELLIN                                       Case Number: 15CR3181-BTM
                                                                                    JASON TURNER
                                                                                   Defendant's Attorney
     REGISTRATION NO. 51658298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s)_I_O_F_TH_E_IN_FO_RM_A_T_I_O_N_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     o was found guilty on count(s)'_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                          Nature of Offense                                                                            Numberlsl
18 USC 2252(a)(2)                     DISTRIBUTION AND RECEIPT OF IMAGES OF MINORS ENGAGED IN                                                      I
                                      SEXUALLY EXPLICIT CONDUCT




        The defendant is sentenced as provided in pages 2 through _ _;; :.6_ _ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s)
                                                          ---------------------------------------------
 O Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0 are 0 dismissed on the motion ofthe United States.
 181 Assessment: $100 to be paid at the rate of $25 per quarter through the Inmate Financial Responsibility Program.

 181 Fine waived                                    0      Forfeiture pursuant to order filed                                  , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
 defendant shall notify the court and United States Attorney ofany material change in the defendant's economic circumstances.
                                                                              JUNE 10,2016
                                                                              Date of Imposition of Sentence


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                                                                                     ,~
                                                                              tI~TEDMOSKOWITZ
                                                                              UNITED STATES DISTRICT JUDGE


                                                                                                                                             15CR3181-BTM
    Case 3:15-cr-03181-BTM                         Document 84          Filed 06/21/16       PageID.474            Page 2 of 6



AO 2458 (CASD) (Rev. 4114)   Judgment in a Criminal Case
            Sheet 2 - Imprisonment
                                                                                             Judgment - Page _ _2_ of        6
DEFENDANT: WILLIAM HARVEY YELLIN
CASE NUMBER: 15CR3181-BTM
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
         SEVENTY-TWO (72) MONTHS.




    o    Sentence imposed pursuant to Title 8 USC Section 1326(b).
    ~ The court makes the following recommendations to the Bureau of Prisons:
         That the defendant serve his sentence at Terminal Island.




    o   The defendant is remanded to the custody of the United States Marshal.

    o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                      Da.m.    Dp.m.      on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          ~ before 12:00 PM on 07/22/2016 or to this Court by 2:00PM on that same date.

          o    as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                               RETURN
I have executed this judgment as follows:

        Defendant delivered on                                                 to

at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthis judgment.



                                                                                           UNITED STATES MARSHAL


                                                                     By _ _ _ _~~~~~~~~~----
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                    15CR3181-BTM
        Case 3:15-cr-03181-BTM                      Document 84               Filed 06/21/16                PageID.475            Page 3 of 6


AO 24SB (CASD) (Rev.4114) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment Page __
                                                                                                                              3_ of _-,6,-__
DEFENDANT: WILLIAM HARVEY YELLIN                                                                       II
CASE NUMBER: 15CR3181-BTM
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TEN (10) YEARS,

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 2 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --

o       The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d),
        The defendant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11 )    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

                                                                                                                                        15CR3181-BTM
         Case 3:15-cr-03181-BTM                         Document 84        Filed 06/21/16            PageID.476              Page 4 of 6


        AO 2458 (CASD) (Rev. 4114) Judgment in a Criminal Case
                    Sheet 4 - Special Conditions
                                                                                                         Judgment   Page ----i...- of      6
        DEFENDANT: WILLIAM HARVEY YELLIN
        CASE NUMBER: 15CR3181-BTM




                                               SPECIAL CONDITIONS OF SUPERVISION
!VI Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.
o Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
[gJ Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
~ Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
181 Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release ofthe pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


o Take  no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
  officer, if directed.

D Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive
    placement.
181 Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within         days.
D Complete           hours of community service in a program approved by the probation officer within
D
D If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter or attempt to
    reenter the United States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions
    of supervision are suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                                        15CR3181-BTM
    Case 3:15-cr-03181-BTM                   Document 84   Filed 06/21/16     PageID.477        Page 5 of 6




    AO 245B   (Rev. 9/00) Judgment in a Criminal Case
              Sheet 3 - Continued 2 - Supervised Release
                                                                            Judgment-Page _5_ of          6
    DEFENDANT:              WILLIAM HARVEY YELLIN
    CASE NUMBER:            15CR3181-BTM

                                   SPECIAL CONDITIONS OF SUPERVISION

X       Submit your person, property, residence, abode, vehicle, papers, computer and any other electronic
        communications or data storage devices or media, and effects to search at any time, with or without a
        warrant, by any law enforcement or probation officer with reasonable suspicion concerning a violation of
        a condition of probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of
        the officer's duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3).

X       Consent to third party disclosure to any employer, potential employer, concerning any restrictions that
        are imposed by the court.

X       Not use or possess devices which can communicate data via modem or dedicated connection and may
        not have access to the Internet without prior approval from the court or the probation officer. The
        offender shall consent to the installation of systems that will enable the probation officer to monitor
        computer use on any computer owned or controlled by the offender. The offender shall pay for the cost
        of installation of the computer software.

X       Not knowingly associate with, or have any contact with any sex offenders unless in an approved
        treatment and/or counseling setting.

X       Not have any contact, direct or indirect, either telephonically, visually, verbally or through written
        material, or through any third-party communication, with the victim or victim's family, without prior
        approval of the probation officer.

X       Not have contact with any child under the age of 18, unless in the presence of a supervising adult (who is
        aware of the defendant's deviant sexual behavior and conviction), and with prior approval of the
        probation officer.

X       Not accept or commence employment or volunteer activity without prior approval of the probation
        officer, and employment should be subject to continuous review and assessment by the probation officer.

X       Not loiter within 200 yards of a school, schoolyard, playground, park, amusement center/park, public
        swimming pool, arcade, daycare center, carnival, recreation venue, library and other places primarily
        frequented by persons under the age of 18, without prior approval of the probation officer.
    Case 3:15-cr-03181-BTM                   Document 84   Filed 06/21/16        PageID.478         Page 6 of 6




    AO 245B   (Rev. 9/00) Judgment in a Criminal Case
              Sheet 3 - Continued 2 - Supervised Release

                                                                               Judgment-Page _6_ of         6
    DEFENDANT:              WILLIAM HARVEY YELLIN
    CASE NUMBER:            15CR3181-BTM

                                   SPECIAL CONDITIONS OF SUPERVISION

X       Not possess any materials such as videos, magazines, photographs, computer images or other matter that
        depicts "sexually explicit conduct" involving children as defined by 18 U.S.C. §2256(2), "actual
        sexually explicit conduct" involving adults as defined by 18 U.S.C. § 2257(h)(I), and not patronize any
        place where such materials or entertainment are the primary material or entertainment available.

X       Complete a sex offender evaluation, which may include periodic psychological, physiological testing,
        and completion of the ABEL assessment, at the direction of the court or probation officer; and that the
        offender participate and successfully complete an approved state-certified sex offender treatment
        program, including compliance with treatment requirements of the program. The offender will allow
        reciprocal release of information between the probation officer and the treatment provider. The
        offender may also be required to contribute to the costs of services rendered in an amount to be
        determined by the probation officer, based on ability to pay.

X       Comply with registration requirements under the Sex Offender Registration and Notification Act.
